     Case 3:16-cv-02287-BAS-JLB Document 4 Filed 09/26/16 PageID.39 Page 1 of 4



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 8                             UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11   DEMETRIUS SISSAC,                                     Case No.: 16-2287 BAS (JLB)
12                                       Petitioner,
                                                           (1) NOTICE OF OPPORTUNITY TO
13   v.                                                    CONSENT TO MAGISTRATE
                                                           JUDGE JURISDICTION (28 U.S.C. §
14   W.L. MONTGOMERY, Warden,
                                                           636(c), F.R.C.P. 73); and
15                                    Respondent.
                                                           (2) ORDER REQUIRING RESPONSE
16
                                                           TO PETITION (28 U.S.C. § 2254,
17                                                         Rule 4
18
19           Petitioner, a state prisoner proceeding pro se, has filed a Petition for Writ of
20   Habeas Corpus pursuant to 28 U.S.C. § 2254. In accordance with Rule 4 of the rules
21   governing petitions for a writ of habeas corpus pursuant to 28 U.S.C. § 2254, and upon a
22   preliminary review of the Petition, IT IS ORDERED that:
23           1. The Clerk of this Court must promptly (a) serve a copy of the Petition and a
24   copy of this Order on the Attorney General for the State of California, or her authorized
25   agent; and (b) serve a copy of this Order on Petitioner.
26           2. Respondent must file a “Notice of Appearance” no later than October 17,
27   2016.
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                                                                                     16-2287 BAS (JLB)
     Case 3:16-cv-02287-BAS-JLB Document 4 Filed 09/26/16 PageID.40 Page 2 of 4



 1          3. If Respondent contends the Petition can be decided without the Court’s
 2   reaching the merits of Petitioner’s claims (e.g., because Respondent contends Petitioner
 3   has failed to exhaust any state remedies as to any ground for relief alleged in the Petition,
 4   or that the Petition is barred by the statute of limitations, or that the Petition is subject to
 5   dismissal under Rule 9 of the Rules Governing § 2254 Cases, or that all of the claims are
 6   procedurally defaulted, or that Petitioner is not in custody), Respondent must file a
 7   motion to dismiss pursuant to Rule 4 of the Rules Governing § 2254 Cases no later than
 8   December 2, 2016. The motion to dismiss must not address the merits of Petitioner’s
 9   claims, but rather must be confined to the basis for Respondent’s contention that
10   dismissal without reaching the merits of Petitioner’s claims is warranted. At the time the
11   motion to dismiss is filed, Respondent must lodge with the Court all records bearing on
12   Respondent’s contention in this regard. A hearing date is not required for the motion to
13   dismiss.
14          4. If Respondent files a motion to dismiss, Petitioner must file his opposition, if
15   any, to the motion no later than January 3, 2017. At the time the opposition is filed,
16   Petitioner must lodge with the Court any records not lodged by Respondent which
17   Petitioner believes may be relevant to the Court’s determination of the motion.
18          5. Unless the Court orders otherwise, Respondent must not file a reply to
19   Petitioner’s opposition to a motion to dismiss. If the motion is denied, the Court will
20   afford Respondent adequate time to respond to Petitioner’s claims on the merits.
21          6. If Respondent does not contend that the Petition can be decided without the
22   Court reaching the merits of Petitioner’s claims, Respondent must file and serve an
23   answer to the Petition pursuant to Rule 5 of the Rules Governing § 2254 Cases no later
24   than December 2, 2016. At the time the answer is filed, Respondent must lodge with the
25   Court all records bearing on the merits of Petitioner’s claims. The lodgments must be
26   accompanied by a notice of lodgment which must be captioned “Notice of Lodgment in
27   28 U.S.C. § 2254 Habeas Corpus Case — To Be Sent to Clerk’s Office.” Respondent
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                                                                                       16-2287 BAS (JLB)
     Case 3:16-cv-02287-BAS-JLB Document 4 Filed 09/26/16 PageID.41 Page 3 of 4



 1   must not combine separate pleadings, orders or other items into a combined lodgment
 2   entry. Each item must be numbered separately and sequentially.
 3         7. Petitioner may file a traverse to matters raised in the answer no later than
 4   January 2, 2017. Any traverse by Petitioner (a) must state whether Petitioner admits or
 5   denies each allegation of fact contained in the answer; (b) must be limited to facts or
 6   arguments responsive to matters raised in the answer; and (c) must not raise new grounds
 7   for relief that were not asserted in the Petition. Grounds for relief withheld until the
 8   traverse will not be considered. No traverse can exceed ten (10) pages in length absent
 9   advance leave of Court for good cause shown.
10         8. A request by a party for an extension of time within which to file any of the
11   pleadings required by this Order must be made in advance of the due date of the pleading,
12   and the Court will grant such a request only upon a showing of good cause. Any such
13   request must be accompanied by a declaration under penalty of perjury explaining why
14   an extension of time is necessary.
15         9. Unless otherwise ordered by the Court, this case will be deemed submitted on
16   the day following the date Petitioner’s opposition to a motion to dismiss and/or his
17   traverse is due.
18         10. Every document delivered to the Court must include a certificate of service
19   attesting that a copy of such document was served on opposing counsel (or on the
20   opposing party, if such party is not represented by counsel). Any document delivered to
21   the Court without a certificate of service will be returned to the submitting party and will
22   be disregarded by the Court.
23         11. Petitioner must immediately notify the Court and counsel for Respondent of
24   any change of Petitioner’s address. If Petitioner fails to keep the Court informed of
25   where Petitioner may be contacted, this action will be subject to dismissal for failure to
26   prosecute.
27         12. Petitioner has consented to proceed before a United States Magistrate Judge.
28   Respondent must execute and return either a “Consent to Exercise of Jurisdiction by a

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                                                                                    16-2287 BAS (JLB)
     Case 3:16-cv-02287-BAS-JLB Document 4 Filed 09/26/16 PageID.42 Page 4 of 4



 1   United States Magistrate Judge and Order of Reference” or a “Notice of Intent to Proceed
 2   before District Judge” to the Clerk of Court on or before November 17, 2016. The
 3   parties are free to withhold consent without adverse substantive consequences. The Clerk
 4   of Court must send the appropriate Southern District forms to Respondent along with this
 5   Order.
 6         IT IS SO ORDERED.
 7   Dated: September 26, 2016
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